                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN
                                      GREEN BAY DIVISION


JAMES BELTRAME,
on behalf of himself and
all others similarly situated,                              Case No. 20-cv-73

                Plaintiff,                                  COLLECTIVE AND CLASS
        v.                                                  ACTION PURSUANT TO
                                                            29 U.S.C. §216(b) AND
SOUTHERN CROSS, LLC                                         AND FED. R. CIV. P. 23
3175 Corners North Court
Peachtree Corners, Georgia 30071                            JURY TRIAL DEMANDED

                Defendant



                                          COMPLAINT



                                   PRELIMINARY STATEMENT

        1.      This is a collective and class action brought pursuant to the Fair Labor Standards

Act of 1938, as amended, (“FLSA”), and Wisconsin’s Wage Payment and Collection Laws, Wis.

Stat. § 109.01 et seq., Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code

§ DWD 274.01 et seq., and Wis. Admin. Code § DWD 272.001 et seq. (“WWPCL”) and Fed. R.

Civ. P. 23, by Plaintiff, James Beltrame, against Defendant, Southern Cross, LLC.

        2.      Plaintiff bring these FLSA and WWPCL claims and causes of action against

Defendant on behalf of himself and all other similarly-situated current and former hourly-paid,

non-exempt Technician employees of Defendant for purposes of obtaining relief under the FLSA

and WWPCL for unpaid overtime compensation, liquidated damages, costs, attorneys’ fees,

declaratory and/or injunctive relief, and/or any such other relief the Court may deem appropriate.




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       3.      Defendant operated (and continues to operate) an unlawful compensation system

that deprived current and former hourly-paid, non-exempt Technician employees of their wages

earned for all compensable work performed each workweek, including at an overtime rate of pay

for each hour worked in excess of forty (40) hours in a workweek. Specifically, Defendant’s

unlawful compensation system failed to include all forms of non-discretionary compensation,

such as monetary bonuses, commissions, incentives, awards, and/or other rewards and payments,

in all current and former hourly-paid, non-exempt Technician employees’ regular rates of pay for

overtime calculation purposes.

       4.      Defendant’s deliberate failure to compensate its hourly-paid, non-exempt

Technician employees for hours worked at the proper and legal rate(s) of pay violated federal

law as set forth in the FLSA and state law as set forth in the WWPCL.

                                 JURISDICTION AND VENUE

       5.      This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this case is brought under the FLSA, 29 U.S.C. §§ 201, et seq.

       6.      This Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367, over the

state law claims, Wisconsin’s Wage Payment and Collection Laws, Wis. Stat. § 109.01 et seq.,

Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code § DWD 274.01 et

seq., and Wis. Admin. Code § DWD 272.001 et seq., because they are so related in this action

within such original jurisdiction that they form part of the same case or controversy under Article

III of the United States Constitution.

       7.      Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) and (c), because

Defendant does business, and has substantial and systematic contacts, in this District.




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                                 PARTIES AND COVERAGE

       8.      Plaintiff, James Beltrame, is an adult male resident of the State of Wisconsin with

a post office address of 318 Bonne Court, Green Bay, Wisconsin 54303.

       9.      Defendant, Southern Cross, LLC, was, at all material times herein, a Georgia

entity doing business in the State of Wisconsin with a principal mailing address of 3175 Corners

North Court, Peachtree Corners, Georgia 30071.

       10.     Defendant provides filed services in the utility industry across the United States,

including in the State of Wisconsin.

       11.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff performed compensable work as an hourly-paid, non-exempt Technician

in the State of Wisconsin on Defendant’s behalf, at Defendant’s direction, for Defendant’s

benefit, and/or with Defendant’s knowledge.

       12.     For purposes of the FLSA, Defendant was an “employer” of an “employee,”

Plaintiff, as those terms are used in 29 U.S.C. §§ 203(d) and (e).

       13.     For purposes of the WWPCL, Defendant was an “employer” of Plaintiff, and

Plaintiff was “employed” by Defendant, as those terms, or variations thereof, are used in Wis.

Stat. §§ 109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD 272.01.

       14.     During the relevant time periods as stated herein, Defendant was engaged in

“commerce” and/or its employees were engaged in “commerce,” as that term is defined under

the FLSA.

       15.     During the relevant time periods as stated herein, Defendant employed more than

two (2) employees.




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       16.     During the relevant time periods as stated herein, Defendant’s annual dollar

volume of sales or business exceeded $500,000.

       17.     During the relevant time periods as stated herein, Plaintiff was engaged in

commerce or in the production of goods for commerce.

       18.     Plaintiff’s Notice of Consent to Join this collective action pursuant to 29 U.S.C.

§ 216(b) is contemporaneously filed with this Complaint (ECF No. 1).

       19.     Plaintiff brings this action on behalf of himself and all other similarly-situated

current and former hourly-paid, non-exempt Technician employees employed by Defendant

within the three (3) years immediately preceding the filing of this Complaint (ECF No. 1).

Plaintiff and all other hourly-paid, non-exempt Technician employees were subjected to

Defendant’s same unlawful policies as enumerated herein and performed similar job duties.

       20.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other current and former hourly-paid, non-exempt Technician

employees on whose behalf Plaintiff brings this Complaint performed compensable work on

Defendant’s behalf, at Defendant’s direction, for Defendant’s benefit, and/or with Defendant’s

knowledge across the United States, including but not limited to in the State of Wisconsin.

       21.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant supervised Plaintiff’s and all other hourly-paid, non-exempt Technician

employees’ day-to-day activities.

       22.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant hired, terminated, promoted, demoted, and suspended Plaintiff and all

other hourly-paid, non-exempt Technician employees.




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       23.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant reviewed Plaintiff’s work performance and the work performance of all

other hourly-paid, non-exempt Technician employees.

       24.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant established Plaintiff’s and all other hourly-paid, non-exempt Technician

employees’ work schedules and provided Plaintiff and all other hourly-paid, non-exempt

Technician employees with work assignments and hours of work.

       25.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant established the terms, conditions, work rules, policies, and procedures

by which Plaintiff and all other hourly-paid, non-exempt Technician employees abided in the

workplace.

       26.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant oversaw, managed, and adjudicated Plaintiff’s and all other hourly-paid,

non-exempt Technician employees’ employment-related questions, benefits-related questions,

and workplace issues.

       27.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant compensated Plaintiff and all other hourly-paid, non-exempt Technician

employees for hours worked and/or work performed, including with additional forms of

compensation, such as monetary bonuses, commissions, incentives, and/or other rewards and

payments.




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                                 GENERAL ALLEGATIONS

       28.     On or about October 21, 2019, Plaintiff commenced his employment with

Defendant in the hourly-paid, non-exempt position of Technician.

       29.     During Plaintiff’s employment with Defendant, Plaintiff performed compensable

work on Defendant’s behalf, with Defendant’s knowledge, for Defendant’s benefit, and/or at

Defendant’s in the position of Technician in the State of Wisconsin.

       30.     Currently, Plaintiff is still employed by Defendant.

       31.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt Technician employees were

employed by Defendant in hourly-paid, non-exempt job positions and performed compensable

work on Defendant’s behalf, with Defendant’s knowledge, for Defendant’s benefit, and/or at

Defendant’s direction.

       32.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant maintained employment records and other documentation regarding

Plaintiff and all other hourly-paid, non-exempt Technician employees.

       33.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant maintained a centralized system for tracking and/or recording hours

worked by Plaintiff and all other hourly-paid, non-exempt Technician employees.

       34.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant maintained a centralized system for compensating Plaintiff and all other

hourly-paid, non-exempt Technician employees for all remuneration earned.




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       35.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt Technician employees frequently

worked in excess of forty (40) hours per workweek.

       36.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant knew or had knowledge that Plaintiff and all other hourly-paid, non-

exempt Technician employees frequently worked in excess of forty (40) hours per workweek.

       37.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant tracked and/or recorded Plaintiff’s and all other hourly-paid, non-

exempt Technician employees’ hours worked each workweek.

       38.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant compensated Plaintiff and all other hourly-paid, non-exempt Technician

employees on a bi-weekly basis via paycheck.

       39.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant’s workweek for FLSA and WWPCL purposes was Sunday through

Saturday.

       40.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all current and former hourly-paid, non-exempt Technician employees

were subject to Defendant’s same unlawful policy, practice, custom, and/or scheme of failing to

include all forms of non-discretionary compensation, such as monetary bonuses, commissions,

incentives, awards, and/or other rewards and payments, in their regular rates of pay for overtime

purposes in violation of the FLSA and WWPCL.




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       41.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt Technician employees employed by

Defendant were legally entitled to overtime pay for all hours worked in excess of forty (40) in a

workweek.

       42.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant’s policies in practice failed to compensate Plaintiff and all other hourly-

paid, non-exempt Technician employees at the correct and lawful overtime rate of pay for all

hours worked and work performed in excess of forty (40) hours in a workweek.

       43.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant’s unlawful pay practices as described herein resulted in Plaintiff and all

other hourly-paid, non-exempt Technician employees being deprived of overtime pay for all

hours worked in excess of forty (40) in a workweek.

       44.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant was or should have been aware that their policies in practice did not

properly and lawfully compensate Plaintiff and all other hourly-paid, non-exempt Technician

employees at the correct and lawful overtime rate of pay for all hours worked in excess of forty

(40) in a workweek.




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               COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

       45.     Plaintiff brings this action on behalf of himself and all other similarly situated

employees as authorized under the FLSA, 29 U.S.C. § 216(b). The similarly situated employees

include:

                      All current and former hourly-paid, non-exempt Technician
                      employees employed by Defendant within the three (3)
                      years immediately preceding the filing of this Complaint
                      (ECF No. 1) who have not been compensated for all hours
                      worked in excess of forty (40) hours in a workweek at the
                      proper, correct, and/or lawful overtime rate of pay as a
                      result of Defendant’s failure to include all forms of non-
                      discretionary compensation in said employees’ regular rates
                      of pay for overtime calculation purposes.

       46.     Plaintiff and the FLSA Collective primarily performed non-exempt job duties

each workweek and, thus, were legally entitled to overtime pay for all hours worked in excess of

forty (40) in a workweek.

       47.     Plaintiff and the FLSA Collective were compensated on an hourly basis (and not

on a salary basis) each workweek and, thus, were legally entitled to overtime pay for all hours

worked in excess of forty (40) in a workweek.

       48.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant compensated Plaintiff and the FLSA Collective with, in addition to an

hourly or regular rate(s) of pay, other forms of non-discretionary compensation – such as

performance-based and/or attendance-based monetary bonuses and incentives, commissions,

awards, and/or other rewards and payments – on approximately a bi-weekly basis.

       49.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), the monetary compensation that Defendant provided to Plaintiff and the FLSA

Collective was non-discretionary in nature: it was made pursuant to a known plan (performance




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or productivity) or formula and/or were announced and known to Plaintiff and the FLSA

Collective to encourage and/or reward their steady, rapid, productive, reliable, safe, consistent,

regular, predictable, continued, and/or efficient work performance and/or hours worked.

       50.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant’s pay practices failed to include all forms of non-discretionary

compensation, such as monetary bonuses, commissions, incentives, awards, and/or other rewards

and payments, in Plaintiff’s and the FLSA Collective’s regular rate(s) of pay for overtime

calculation and compensation purposes during workweeks when said employees worked more

than forty (40) hours during the representative time period.

       51.     Defendant’s deliberate failure to properly compensate Plaintiff and the FLSA

Collective in such a fashion as described in the aforementioned paragraphs violated federal law

as set forth in the FLSA.

       52.     Defendant’s unlawful practice as it relates to non-discretionary compensation

described herein failed to compensate and deprived Plaintiff and the FLSA Collective of the

appropriate and lawful overtime wages and compensation due and owing to them, in violation of

the FLSA.

       53.     Defendant was or should have been aware that its unlawful practice as it relates to

non-discretionary compensation failed to compensate and deprived Plaintiff and the FLSA

Collective of the appropriate and lawful overtime wages and compensation due and owing to

them, in violation of the FLSA.




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       54.     Plaintiff’s FLSA Cause of Action is brought under and maintained as an opt-in

Collective Action Pursuant to Section 216(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of the

FLSA Collective, and this Cause of Action may be pursued by those who affirmatively opt in to

this case, pursuant to 29 U.S.C. § 216(b).

       55.     Plaintiff and the FLSA Collective are and have been similarly situated, have and

have had substantially similar job requirements, and/or pay provisions, and are and have been

subject to Defendant’s decisions, policies, plans and programs, practices, procedures, protocols,

routines, and rules willfully failing and refusing to compensate them properly and lawfully with

overtime compensation. Plaintiff’s claims and causes of action as stated herein are the same as

those of the FLSA Collective.

       56.     Plaintiff and the FLSA Collective seek relief on a collective basis challenging,

among any other FLSA violations, Defendant’s practice of failing to include all forms of non-

discretionary compensation in the FLSA Collective’s regular rates of pay for overtime

compensation and calculation purposes.

       57.     The FLSA Collective is readily ascertainable. For purpose of notice and other

purposes related to this action, the names, phone numbers, and addresses are readily available

from Defendant. Notice can be provided to the FLSA Collective via first class mail to the last

address known by Defendant and through posting at Defendant’s locations in areas where

postings are normally made.

       58.     Defendant’s conduct, as set forth in this Complaint, was willful and in bad faith,

and has caused significant damages to Plaintiff and the FLSA Collective.




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                          RULE 23 CLASS ALLEGATIONS - WISCONSIN

       59.      Plaintiff brings this action on behalf of himself and all other similarly situated

employees pursuant to the WWPCL, under Fed. R. Civ. P. 23. The similarly situated employees

include:

                       All current and former hourly-paid, non-exempt Technician
                       employees employed by Defendant in the State of
                       Wisconsin within the two (2) years immediately preceding
                       the filing of this Complaint (ECF No. 1) who have not been
                       compensated for all hours worked in excess of forty (40)
                       hours in a workweek at the proper, correct, and/or lawful
                       overtime rate of pay as a result of Defendant’s failure to
                       include all forms of non-discretionary compensation in said
                       employees’ regular rates of pay for overtime calculation
                       purposes.

       60.      The Wisconsin Class members are readily ascertainable. The number and identity

of the Wisconsin Class members are determinable from the records of Defendant. The job titles,

length of employment, and the rates of pay for each Wisconsin Class member are also

determinable from Defendant’s records. For purposes of notice and other purposes related to this

action, their names and addresses are readily available from Defendant. Notice can be provided

by means permissible under Fed. R. Civ. P. 23.

       61.      The proposed Wisconsin Class is so numerous that joinder of all members is

impracticable, and more importantly the disposition of their claims as a class will benefit the

parties and the Court. Although the precise number of such persons is unknown, upon

information and belief, there are over seventy-five (75) members of the Wisconsin Class.

       62.      Plaintiff’s claims are typical of those claims which could be alleged by any

member of the Wisconsin Class, and the relief sought is typical of the relief which would be

sought by each member of the Wisconsin Class in separate actions. All the Wisconsin Class

members were subject to the same corporate practices of Defendant, as alleged herein.




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Defendant’s corporate-wide policies and practices affected all Wisconsin Class members

similarly, and Defendant benefited from the same type of unfair and/or wrongful acts as to each

Wisconsin Class member. Plaintiff and other Wisconsin Class members sustained similar losses,

injuries and damages arising from the same unlawful policies, practices and procedures.

       63.     Plaintiff is able to fairly and adequately protect the interests of the Wisconsin

Class and has no interests antagonistic to the Wisconsin Class. Plaintiff is represented by counsel

who is experienced and competent in both collective/class action litigation and employment

litigation and have previously represented plaintiffs in wage and hour cases.

       64.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendants. Class action treatment will permit a number of similarly-situated persons

to prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

Because the losses, injuries and damages suffered by each of the individual Wisconsin Class

members are small in the sense pertinent to a class action analysis, the expenses and burden of

individual litigation would make it extremely difficult or impossible for the individual Wisconsin

Class members to redress the wrongs done to them.

       65.     Important public interests will be served by addressing the matter as a class

action. The adjudication of individual litigation claims would result in a great expenditure of

Court and public resources; however, treating the claims as a class action would result in a

significant saving of these costs. The prosecution of separate actions by individual members of

the Wisconsin Class would create a risk of inconsistent and/or varying adjudications with respect




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to the individual members of the Wisconsin Class, establishing incompatible standards of

conduct for Defendant and resulting in the impairment of class members’ rights and the

disposition of their interests through actions to which they were not parties. The issues in this

action can be decided by means of common, class-wide proof. In addition, if appropriate, the

Court can, and is empowered to, fashion methods to efficiently manage this action as a class

action.

          66.   Defendant has violated the WWPCL regarding payment of wages and overtime

premium wages. Current employees are often afraid to assert their rights out of fear of direct or

indirect retaliation. Former employees are fearful of bringing claims because doing so can harm

their employment, future employment, and future efforts to secure employment. Class actions

provide class members who are not named in the Complaint a degree of anonymity which allows

for the vindication of their rights while eliminating or reducing these risks.

          67.   There are questions of fact and law common to the Wisconsin Class that

predominate over any questions affecting only individual members. The questions of law and

fact common to the Wisconsin Class arising from Defendant’s actions include, without

limitation, the following: (a) Whether Defendant provided the Wisconsin Class with forms of

non-discretionary compensation; (b) Whether Defendant maintained an unlawful compensation

system that failed to include these forms of non-discretionary compensation in current and

former hourly-paid, non-exempt Technician employees’ regular rates of pay for overtime

calculation purposes; and (c) The nature and extent of class-wide injury and the measure of

damages for the injury.




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       68.     The questions set forth above predominate over any questions affecting only

individual persons, and a class action is superior with respect to considerations of consistency,

economy, efficiency, fairness and equity, to other available methods for the fair and efficient

adjudication of the state law claims.

                                    FIRST CLAIM FOR RELIEF
                  Violations of the Fair Labor Standards Act of 1938, as Amended
                      (Plaintiff on behalf of himself and the FLSA Collective)

       69.     Plaintiff, on behalf of himself and the FLSA Collective, reasserts and incorporates

by reference all paragraphs set forth above as if restated herein.

       70.     At all times material herein, Plaintiff and the FLSA Collective have been entitled

to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. § 201 et seq.

       71.     At all times material herein, Defendant was an employer of Plaintiff and the

FLSA Collective as provided under the FLSA.

       72.     At all times material herein, Plaintiff and the FLSA Collective were employees of

Defendant as provided under the FLSA.

       73.     Plaintiff and the FLSA Collective are victims of uniform compensation policy and

practice in violation of the FLSA.

       74.     Defendant violated the FLSA by failing to account for and compensate Plaintiff

and the FLSA Collective for overtime premium pay at the proper and correct overtime rate of

pay for each hour worked in excess of forty (40) hours each workweek.

       75.     The FLSA regulates, among other things, the payment of an overtime premium by

employers whose employees are engaged in commerce, or engaged in the production of goods

for commerce, or employed in an enterprise engaged in commerce or in the production of goods

for commerce. 29 U.S.C. § 207(a)(1).




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       76.     Defendant was (and is) subject to the overtime pay requirements of the FLSA

because Defendant is an enterprise engaged in commerce and/or its employees are engaged in

commerce, as defined in FLSA, 29 U.S.C. § 203(b).

       77.     Defendant’s failure to properly compensate Plaintiff and the FLSA Collective and

failure to properly include all forms of non-discretionary compensation in the regular rate of pay

for overtime calculations purposes was willfully perpetrated. Defendant also has not acted in

good faith or with reasonable grounds to believe its actions and omissions were not a violation of

the FLSA, and as a result thereof, Plaintiff and the FLSA Collective are entitled to recover an

award of liquidated damages in an amount equal to the amount of unpaid overtime premium pay

described above pursuant to Section 216(b) of the FLSA, 29 U.S.C. § 216(b). Alternatively,

should the Court find that Defendant acted in good faith or with reasonable grounds in failing to

pay overtime premium pay wages, Plaintiff and the FLSA Collective are entitled to an award of

pre-judgment interest at the applicable legal rate.

       78.     As a result of the aforesaid willful violations of the FLSA’s provisions, overtime

compensation has been unlawfully withheld by Defendant from Plaintiff and the FLSA

Collective for which Defendant is liable pursuant to 29 U.S.C. § 216(b).

       79.     Plaintiff and the FLSA Collective are entitled to damages equal to the mandated

overtime premium pay within the three (3) years preceding the date of filing of this Complaint,

plus periods of equitable tolling because Defendant acted willfully and knew or showed reckless

disregard of whether its conduct was prohibited by the FLSA.

       80.     Pursuant to FLSA, 29 U.S.C. § 216(b), successful plaintiffs are entitled to

reimbursement of the costs and attorneys’ fees expended in successfully prosecuting an action

for unpaid wages and overtime wages.




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                                    SECOND CLAIM FOR RELIEF
             Violations of Wisconsin’s Wage Payment and Collection Laws, as Amended
                       (Plaintiff, on behalf of himself and the Wisconsin Class)

       81.     Plaintiff, on behalf of himself and the Wisconsin Class, re-allege and incorporate

all previous paragraphs as if they were set forth herein.

       82.     At all relevant times: Plaintiff and the Wisconsin Class were employees of

Defendant within the meaning of Wis. Stat. §§ 109.01(1r), 103.001(5), and 104.01(2)(a);

Defendant was an employer of Plaintiff and the Wisconsin Class within the meaning of Wis.

Stat. §§ 109.01(2), 103.001(6), and 104.01(3)(a), and Wis. Admin. Code § DWD 272.01(5); and

Defendant employed, and/or continue to employ, Plaintiff and the Wisconsin Class within the

meaning of Wis. Stat. §§ 109.01 et seq., 103.01 et seq., 104.01 et seq., and § DWD 272.01.

       83.     Throughout the Wisconsin Class Period, Plaintiff and the Wisconsin Class

regularly performed activities that were an integral and indispensable part of their principal

activities without receiving compensation for these activities.

       84.     At all relevant times, Defendant had common policies, programs, practices,

procedures, protocols, routines, and rules of willfully failing to properly pay Plaintiff and the

Wisconsin Class overtime compensation.

       85.     The foregoing conduct, as alleged above, constitutes continuing, willful violations

of the Wisconsin Wage Payment and Collection Laws.

       86.     Defendant willfully failed to pay Plaintiff and the Wisconsin Class overtime

premium compensation for all hours worked in excess of forty (40) hours a workweek, in

violation of the Wisconsin Wage Payment and Collection Laws.




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         87.      As set forth above, Plaintiff and the Wisconsin Class members have sustained

losses in their compensation as a proximate result of Defendant’s violations. Accordingly,

Plaintiff and the Wisconsin Class seek damages in the amount of their respective unpaid

compensation, injunctive relief requiring Defendant to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff and the Wisconsin

Class may be entitled to liquidated damages equal and up to fifty percent (50%) of the unpaid

wages.

         88.      Plaintiff and the Wisconsin Class seek recovery of attorneys’ fees and the costs of

this action to be paid by Defendant pursuant to the WWPCL.

         WHEREFORE, it is respectfully prayed that this Court grant the following relief:

               a) At the earliest possible time, issue an Order allowing Notice, or issue such Court
                  supervised Notice, to all similarly-situated current and former hourly-paid, non-
                  exempt Technician employees employed by Defendant informing them of this
                  action and their rights to participate in this action. Such Notice shall inform all
                  similarly-situated current and qualified former employees of the pendency of this
                  action, the nature of this action, and of their right to “opt in” to this action.
                  Additionally, such notice will include a statement informing the similarly-situated
                  current and qualified former employees that it is illegal for Defendant to take any
                  actions in retaliation of their consent to join this action;

               b) At the earliest possible time, issue an Order certifying this action as a class action
                  pursuant to Federal Rules of Civil Procedure 23;

               c) At the earliest possible time, issue an Order appointing Walcheske & Luzi, LLC
                  as class counsel pursuant to Federal Rules of Civil Procedure 23;

               d) Issue an Order, pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201-
                  2202, declaring Defendant’s actions as described in the Complaint as unlawful
                  and in violation of the FLSA and Wisconsin Law and applicable regulations and
                  as willful as defined in the FLSA and Wisconsin Law;




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          e) Issue an Order directing and requiring Defendant to pay Plaintiff and all other
             similarly-situated hourly-paid, non-exempt Technician employees damages in the
             form of reimbursement for unpaid overtime wages for all time spent performing
             compensable work for which they were not paid pursuant to the rate provided by
             the FLSA and WWPCL;

          f) Issue an Order directing and requiring Defendant to pay Plaintiff and all other
             similarly-situated hourly-paid, non-exempt Technician employees liquidated
             damages pursuant to the FLSA and WWPCL in an amount equal to, and in
             addition to the amount of wages and overtime wages owed to them;

          g) Issue an Order directing Defendant to reimburse Plaintiff and all other similarly-
             situated hourly-paid, non-exempt Technician employees for the costs and
             attorneys’ fees expended in the course of litigating this action, pre-judgment and
             post-judgment interest; and

          h) Provide Plaintiff and all other similarly-situated hourly-paid, non-exempt
             Technician employees with such other and further relief, as the Court deems just
             and equitable.

             PLAINTIFF DEMANDS A JURY AS TO ALL TRIABLE ISSUES

             Dated this 16th day of January, 2020

                                                    WALCHESKE & LUZI, LLC
                                                    Counsel for Plaintiff


                                                    s/ Scott S. Luzi                      .
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